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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JEFFREY SALVALZO, SID #1129936                  §
ET AL.,                                         §
                                                §
                      Plaintiffs,               §
                                                §
                                                §           SA-20-CV-00665-OLG
v.                                              §
                                                §
BEXAR COUNTY ADULT                              §
DETENTION CENTER,                               §
                                                §
                      Defendant.                §

                                     FINAL JUDGMENT

       Before the Court is the above-entitled cause. Upon review of this Court’s Order dismissing

the matter, the Court renders the following Final Judgment Pursuant to FED. R. CIV. P. 58.

       IT IS HEREBY ORDERED that this matter is DISMISSED WITHOUT PREJUDICE

to the refiling of proper 42 U.S.C. § 1983 complaints.



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       SIGNED June ____, 2020.



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                                             Orlando L. Garcia
                                             Chief United States District Judge
